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 5
                            UNITED STATES DISTRICT COURT
 6                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
 7

 8 UNITED STATES OF AMERICA,

 9                                                    CASE NO. CR13-5512 BHS
                            Plaintiff,

10                                                    ORDER DENYING
                 v.                                   DEFENDANT’S MOTION
11 KYLE ANDREW EVERHART,

12                          Defendant.

13

14         This matter comes before the Court on Defendant Kyle Everhart’s (“Everhart”)

15 motion for judgment of acquittal (Dkt. 127).

16         On September 23, 2014, the Court began a two day trial on the Government’s

17 charge against Everhart for possession with intent to distribute. Dkt. 112. On September

18 24, 2014, the jury returned a verdict of guilty. Dkt. 120. On October 6, 2014, Everhart

19 filed a motion for judgment of acquittal. Dkt. 126. On October 14, 2014, the

20 Government responded. Dkt. 127.

21         On a Rule 29 motion for judgment of acquittal, the jury’s verdict should be

22 affirmed “if after viewing the evidence in the light most favorable to the prosecution, any


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 1 rational trier of fact could have found the essential elements of the crime beyond a

 2 reasonable doubt.” United States v. Johnson, 357 F.3d 980, 983 (9th Cir. 2004).

 3         In this case, the Government presented sufficient evidence to affirm the verdict.

 4 First, Everhart was found in the hotel room with the drugs in question. Second, Everhart

 5 subsequently confessed to officers that the pills were his and that he was trying to raise

 6 money for his family before turning himself in on a separate arrest warrant. The jury is

 7 entitled to accept the Government’s evidence in the light most favorable to the

 8 Government. When viewing the evidence in this light, there was sufficient evidence to

 9 affirm the verdict of guilty of possession with intent to distribute. Therefore, the Court

10 DENIES Everhart’s motion.

11         IT IS SO ORDERED.

12         Dated this 23rd day of October, 2014.

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                                              A
                                              BENJAMIN H. SETTLE
                                              United States District Judge
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